Case 08-14631-GMB   Doc 164-1 Filed 04/16/08 Entered 04/16/08 10:43:19   Desc
                        Exhibits A and B Page 1 of 4




                          EXHIBIT A
     Case 08-14631-GMB   Doc 164-1 Filed 04/16/08 Entered 04/16/08 10:43:19   Desc
                             Exhibits A and B Page 2 of 4
                                             Colloquy                                98

1           Q   Okay.    And how would you describe the credit markets today?

2           A   The level of uncertainty and the instability, it is in a

3           situation that I’ve never witnessed it.          You can have a

4           commitment one day and it goes away the next.           People don’t ask

5           about pricing anymore.       The key is just getting a deal approved

6           and that’s a monumental task these days.

7           Q   So would you say it’s a difficult setting for a borrower

8           these days?

9           A   That’s putting it mildly, yes.

10          Q   Okay.    So the lenders that you did approach, were they

11          folks that you would characterize as regular participants in

12          the DIP financing market?

13          A   I would not only characterize them as normal participants

14          but one of the -- some of the few remaining participants in

15          this market right now.

16          Q   And walk us through what -- what you found as a result of

17          these calls with potential alternative lenders.

18          A   I approached probably the four largest lending institutions

19          that we have done business with in the past, ones that I have

20          experience in providing DIP facilities.          With regard to the

21          revolver, the $60 million revolver which is somewhat of an

22          attractive facility to a lender post-petition, it’s one of the

23          more secure facilities, the pricing that I was told that I

24          could expect was Libor plus 2.75 to 4 -- 400.

25                       And right now, the bank -- the CIT facility is
Case 08-14631-GMB   Doc 164-1 Filed 04/16/08 Entered 04/16/08 10:43:19   Desc
                        Exhibits A and B Page 3 of 4




                           EXHIBIT B
     Case 08-14631-GMB   Doc 164-1 Filed 04/16/08 Entered 04/16/08 10:43:19   Desc
                             Exhibits A and B Page 4 of 4
                                             Colloquy                                 100

1           the company, which is while the term loan would be

2           collateralized by the fixed assets, I had no free cash flow to

3           support or to service that loan.         That turned off two of the

4           banks completely.

5                        Their policy was they would not fund into a situation

6           where they couldn’t show positive cash flow because our DIP

7           model basically shows that the term loan is funding the losses

8           for the next 13 weeks.       The banks that said well, if we got out

9           hands around the credit and we could talk to the revolver bank

10          and if we provided that, their pricing was more like Libor plus

11          four-and-a-half to five.       In this case, the pricing for the

12          term loan is prime plus six.

13                       So, it’s a little in the high range but basically

14          right there with what I was hearing from the other banks.                The

15          fees were two to three points on the term loan and in the case

16          of our term loan, it’s one-and-a-half percent on the total

17          facility of $85 million.       The collateral fees and the agent

18          fees are 40,000 respectfully a month and that’s about what the

19          market is charging now to monitor a company this size with the

20          collateral package that we have.         So I quickly concluded and

21          reported back to you that not only is this a competitive

22          package, it’s under market right now, particularly for the

23          revolver.

24                       And from a credit point of view and given the

25          company’s credit situation as we stand now in a cash-negative
